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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 BRIAN HUDDLESTON,                           §
                                             §
                         Plaintiff,          §
                                             §    CIVIL ACTION No. 4:20CV447
 v.                                          §
                                             §
 FEDERAL BUREAU OF                           §
 INVESTIGATION and UNITED                    §    JUDGE AMOS MAZZANT
 STATES DEPARTMENT OF JUSTICE,               §
                                             §
                         Defendants.         §

       DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME
      TO FILE MOTION FOR SUMMARY JUDGMENT AND VAUGHN INDEX

        Defendants Federal Bureau of Investigation (“FBI”) and United States Department

of Justice (“DOJ”) file this motion for extension of time to file their motion for summary

judgment and Vaughn Index. Defendants respectfully request an additional thirty (30)

days, with a new deadline of December 15, 2021. Plaintiff is not opposed to Defendants’

request for extension.

                                             I.

        The Defendants are currently preparing a Vaughn index and declarations in

support of Defendants’ motion for summary judgment. On August 13, 2021, the Court

ordered Defendants to file their complete Vaughn index and motion for summary

judgment by November 15, 2021. [Dkt. 34]. The FBI has determined that it requires

additional time to complete its Vaughn index and declaration based on staffing shortfalls

caused by COVID-19 related issues.

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                                                II.

        The requested extension should not delay these proceedings, as the scheduling

ordered allowed for extra time for Plaintiff’s response deadline due to the holiday season.

However, if Plaintiff determines that he needs additional time to respond to Defendants’

motion for summary judgment, Defendants will not oppose any such request.

                                                III.

        In light of the foregoing, Defendants request that this Court grant their motion for

extension of time and permit an additional thirty (30) days for Defendants to submit their

motion for summary judgment and Vaughn index.

                                             Respectfully submitted,

                                             NICHOLAS J. GANJEI
                                             ACTING UNITED STATES ATTORNEY

                                             /s/ Andrea L. Parker_________
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 5, 2021, a true and correct copy of the

foregoing document was filed electronically with the court and has been sent to counsel

of record via the court’s electronic filing system.



                                             /s/ Andrea L. Parker_________
                                             ANDREA L. PARKER
                                             Assistant United States Attorney




                             CERTIFICATE OF CONFERENCE

        In compliance with Local Rule CV-7(h), undersigned counsel hereby certifies that,

I have conferred with plaintiff’s counsel and he does not oppose this motion.



                                             /s/ Andrea L. Parker_________
                                             ANDREA L. PARKER
                                             Assistant United States Attorney




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